

Per Curiam.

We agree that the complaint before us was properly dismissed.
It is unnecessary to decide whether the charges leveled by the defendants against' the plaintiff are true or justified. The statements which they made concerned one who, concededly, was and is a “ public figure ”. (See Curtis Pub. Co. v. Butts, 388 U. S. 130, 162.) Accordingly, we need go no further than to say that we find, as did the courts below, that the plaintiff failed to establish the fact, essential to the cause of action, that the defendants published the statements in question either with “ knowledge ” of their falsity or with “reckless disregard” of whether they were true or false (New York Times Co. v. Sullivan, 376 U. S. 254, 279-280; see, also, Pickering v. Board of Educ., 391 U. S. 563, 573) or with a “ high degree of awareness ” of their probable falsity (Garrison v. Louisiana, 379 U. S. 64, 74) or that the defendants “in fact” entertained “ serious doubts ” as to their truth. (St. Amant v. Thompson, 390 U. S. 727, 731.)
The order appealed from should be affirmed, with costs.
Chief Judge Fuld and Judges Burke, Scileppi, Bergan, Breitel and Jasen ; Judge Keating taking no part.
Order affirmed.
